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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In Re: April Larson,                                          BKY 18-31280

                  Debtor.                                               Chapter 7


               APPLICATION TO REOPEN CHAPTER 7 BANKRUPTCY


To:    Patti J. Sullivan, Chapter 7 Trustee, the U.S. Trustee, and the other entities specified in
Local Rule 5010-1:

                                         BACKGROUND

       1. April Larson applies for the relief requested below.

       2. This Court has jurisdiction over this application pursuant to 28 U.S.C. §§ 157(a) and

           1334, Bankruptcy Rule 5010 and Local Rule 5010-1. This is a core proceeding.

       3. Larson filed for relief under Chapter 7 of the Bankruptcy Code on April 25, 2018 and

           received a discharge on August 6, 2018. The case was closed on August 21, 2018.

       4. Larson moves this Court for an Order reopening her case under 11 U.S.C. § 350(b) so

           that she can amend Schedule A/B and Schedule C.

                       UNKNOWN INTEREST IN REAL PROPERTY

       5. Larson and her husband wed on March 31, 2016.

       6. Prior to their marriage, Larson’s husband was the sole fee simple owner of his

           homestead, located at 22180 Berring Ave, Farmington, MN 55024 and legally

           described as “Lot 19, Block 3, Countryside Estates, situated in Dakota County,

           Minnesota,” subject to a mortgage held by Carrington Mortgage Services, LLC.

       7. Larson began living with her husband at this property upon their marriage. It became

           their exclusive home.
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    8. On August 29, 2016, Larson’s husband refinanced the Carrington mortgage

       encumbering their home with Wells Fargo Home Mortgage.

    9. While the mortgage and note remained in Larson’s husband’s name after the

       refinance, Larson’s husband added Larson to the title of the home, exclusively to

       simplify transfer of the property to Larson in the event of his death.

    10. Larson did not know that she had acquired an interest in the property through the

       refinance. At the time of the refinance and the time of her subsequent bankruptcy

       filing, Larson did not understand herself to have any present ownership interest in the

       property, and believed her husband to be its sole legal owner.

    11. Due to personal difficulties in their relationship, Larson moved out of her home with

       her husband in January 2018 and began staying with her parents. These were her

       living circumstances at the time of her bankruptcy filing.

    12. When filing bankruptcy, Larson believed the home to be titled exclusively in her

       husband’s name. Because he had owned the property prior to their marriage, she did

       not believe she even had a marital interest to list as an asset.

    13. She seeks to correct this error with this motion.

                                    RELIEF SOUGHT

    14. April Larson moves this Court for an Order reopening her Chapter 7 case for the

       purpose of amending Schedule A/B and Schedule C to include her half interest in her

       joint homestead occupied by her husband and located at 22180 Berring Ave,

       Farmington, MN 55024.
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In Re: April Larson,                                            BKY 18-31280

                   Debtor.                                                 Chapter 7


                      MEMORANDUM OF LAW IN SUPPORT OF
                APPLICATION TO REOPEN CHAPTER 7 BANKRUPTCY

                                               FACTS

        April Larson filed her chapter 7 Petition, Schedules, and Statement of Financial Affairs

pursuant to 11 U.S.C. §301, on April 25, 2018. The court ordered a discharge order on August 6,

2018 and the case was closed on August 21, 2018.

        Larson inadvertently did not list an interest in real property on her bankruptcy schedules.

She believed this property belonged exclusively to her husband, who owned the property prior to

their marriage and was its sole occupant at the time of her bankruptcy filing. After they wed,

however, Larson's husband refinanced the mortgage encumbering the property. He instructed

Larson to sign paperwork during the refinance, which she mistakenly believed made her the heir

to the property should he die. In fact, he had transferred her a half interest in this real property to

her, which she owned at the time of her bankruptcy filing.

                                            ARGUMENT

        Larson seeks a Court Order reopening her chapter 7 bankruptcy pursuant to 11 U.S.C.

§350(b), Federal Rule of Bankruptcy Procedure 5010 and Local Rule 5010-1, to allow her to

amend Schedules A/B and C.


        11 U.S.C.§ 350(b) allows the court to reopen a case to "administer assets." In re

Marshall, 211 B.R. 662, 663 (Bankr.D.Minn 1997). A motion to reopen a bankruptcy case
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should be granted only where there is a compelling reason. In re Johnson, 500 B.R. 594. 597

(Bankr.D.Minn. 2013)(Citing In re Borer, 73 B.R. 29, 31 (Bankr.N.D.Ohio 1987). In this case

the compelling reason to reopen the bankruptcy is to allow for the correction of ownership in the

real property described above, which will both clarify title to the property in question and result

in payment of non-exempt assets to Larson’s bankruptcy estate, which will benefit both the

creditors and Larson.

                                         CONCLUSION

       Larson respectfully applies for a Court Order reopening her chapter 7 Bankruptcy, No.

18-31280.

                                              Respectfully submitted,


DATED: September 21, 2018                     WALKER & WALKER LAW OFFICES, PLLC

                                              /s/ Bennett Hartz
                                              Andrew C. Walker (392525)
                                              Bennett Hartz (393136)
                                              4356 Nicollet Avenue South
                                              Minneapolis, MN 55409
                                              (612) 824-4357
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MINNESOTA


 In Re: April Larson,                                  BKY 18-31280

              Debtor.                                        Chapter 7


                ORDER REOPENING CHAPTER 7 BANKRUPTCY

       An application by the debtor for an Order reopening their Chapter 7
 bankruptcy case has been filed and shows cause for such reopening under Fed.
 R. Bankr. P. 5010 and 11 U.S.C. 350(b).

 IT IS ORDERED:

 1.    The case is reopened;
 2.    The United States Trustee may serve as trustee if authorized, or shall
 appoint a trustee if appropriate;
 3.    The clerk shall serve this order on the applicant.


 Date: _______________                          _____________________________
                                                Judge Michael E. Ridgway
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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In Re: April Larson,                                      BKY 18-31280

Debtor.                                            Chapter 7

                          UNSWORN CERTIFICATE OF SERVICE

       I, Bennett Hartz, declare under the penalty of perjury that on September 21, 2018, I
mailed copies of the foregoing Application To Reopen Chapter 7 Bankruptcy, by first class mail
postage prepaid to each entity named below at the address stated below for each entity:

United States Trustee
1015 U.S. Courthouse
300 South 4th Street
Minneapolis, MN 55415

Patti J. Sullivan, Trustee
1595 Selby Avenue, Suite 205
St. Paul, MN 55104

Creditors on the attached list



DATED: September 21, 2018                                         /s/ Bennett Hartz
 Debtor(s): April Lynn Larson                Case No: 18-31280                            DISTRICT OF MINNESOTA
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                                                                                                  PAUL DIVISION

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                                 Dakota Electric
Advantage Collection Professionals                                           Northfield Hospitals & Clinics
PO Box 353                       4300 220th Street W                         2000 North Ave
Cambridge MN 55008               Farmington MN 55024 9583                    Northfield MN 55057



American Accounts and Advisers Inc
                                 Diversified Adjustment Service Inc
                                                                  Obstetrics and Gynecology Specialist
7460 80th St S                   600 Coon Rapids Blvd             6565 France Ave #200
Cottage Grove MN 55016           Coon Rapids MN 55433             Edina, MN 55435



American Medical Collection Agency
                                 DS Erickson & Associates                    Pinnacle Recovery Inc
4 Westchester Plaza Suite 10     920 2nd Ave S                               PO Box 130848
Elmsford NY 10523                Suite 800                                   Carlsbad CA 92013
                                 Minneapolis MN 55402


Capital One Bankruptcy                  Emergency Physicians PA              Professional Service Bureau Inc
PO Box 30285                            5435 Feltl Rd                        911 Lund Blvd
Salt Lake City UT 84130 3285            Minnetonka MN 55343                  Suite 100
                                                                             Anoka, MN 55303-0548


CBCS                                    Enhanced Recovery                    Quest Diagnostics
PO BOX 2589                             8014 Bayberry Rd                     1355 Mittle Blvd
Columbus OH 43216                       Jacksonville FL 32256 7412           Attn Patient Billing
                                                                             Wood Dale IL 60191


Charter Communications                  Fairview Health Services             Reliance Recoveries
16900 Cedar Avenue South                PO Box 9372                          PO Box 29227
Rosemount MN 55068                      Minneapolis MN 55440                 Minneapolis, MN 55429



City of Carlton                         Fairview Ridges Hospital             RevSolve Inc
3920 13th Ave E                         201 E Nicollet Blvd                  MSC #600
Suite 6                                 Burnsville, MN 55337                 PO Box 52163
Hibbing, MN 55746                                                            Phoenix, AZ 85072


Comcast                                 Great Lakes Higher Education         Ridges Surgery Center
9602 S 300 W Ste B                      2401 International Lane              14101 Fairview Dr, Ste 400
Sandy, UT 84070                         Madison WI 53704 3192                Burnsville, MN 55337



Convergent Outsourcing Inc                                               South Metropolitan Anesthesia
                                        Metropolitan Anesthesia Network LLP
800 SW 39th St                          14700 28th Ave N ste 120         PO Box 100
Po Box 9004                             Plymouth MN 55447                Becker, MN 55308
Renton WA 98057


CU Recovery                             Minnesota Energy Resources           Stellar Recovery Inc
26263 Forest Blvd                       PO Box 70022                         PO Box 48370
Wyoming MN 55092                        Prescott AZ 86304-7022               Jacksonville, FL 32247-8370
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T-Mobile Bankruptcy Team
PO Box 53410
Bellevue, WA 98015



The Dental Health Center
19645 Pilot Knob Road
Farmington, MN 55024-7239



Verizon Wireless Bankruptcy Division
500 Technology Drive
Suite #550
Weldon Spring, MO 63304


Walker & Walker Law Offices
4356 Nicollet Avenue South
Minneapolis, MN 55409



Wells Fargo Home Mortgage
PO Box 10335
Des Moines IA 50306



Wings Financial Credit Union
14985 Glazier Avenue Suite 100
Apple Valley, MN 55129-6539
